Case 2:15-cv-00998-JRG-RSP Document 79 Filed 03/15/16 Page 1 of 1 PageID #: 331




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  DISPLAY TECHNOLOGIES, LLC,

                       Plaintiff,                     Civil Action No. 2:15-cv-998-JRG-JRP

                v.                                       CONSOLIDATED LEAD CASE

  NVIDIA CORPORATION, et al.,

                       Defendants.


                                    ORDER OF DISMISSAL

        Before the Court is Plaintiff Display Technologies, LLC (“Plaintiff”) and Defendant Valve

 Corporation’s (“Defendant”), Joint Motion to Amend Dismissal.

        The Court, having considered the Parties’ Motion, finds that the motion should be
  .
 GRANTED

              IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff’s claims in this

               action are dismissed with prejudice subject to the terms of that certain agreement

               entitled “SETTLEMENT AND LICENSE AGREEMENT” dated January 11,

               2016. Defendant’s counterclaims remain dismissed without prejudice.

              IT IS FURTHER ORDERED that all attorneys’ fees and costs are to be borne by

               the party that incurred them and that this Court retains jurisdiction over this matter

              for enforcement of the settlement agreement in force between the parties.
           SIGNED this 3rd day of January, 2012.
           SIGNED this 14th day of March, 2016.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE
